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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


ANTHONY SCRICCA, ADMI N ISTRATOR
OF THE ESTATE OF
ANGELISE RODRIGUEZ;
COLEEN RODRIGUEZ &
ANGEL MIGUEL RODRIGUEZ

                          Plaintiffs

VS.                                                   CivilAction No

THE BOPPY COMPANY, LLC;
ARTSANA U.S.A., lNC. D/B/A CHICCO; &
TARGET CORPORATION D/B/A
TARGET STORE, INC.

                          Defendants                   NOVEMBER 23, 2022


                                 NOTICE OF REMOVAL

      PLEASE TAKE      NorlcE that, pursuant to 28 u.s.c.     SS 1332, 1441, and 1446,

defendant, Target Gorporation d/b/a Target Stores, lnc., hereby gives notice of the

removal of the above-captioned action from the Superior Court of Connecticut, J.D. of

New Haven at New Haven, which is the judicial district in which said action is pending, to

this Court. The grounds for removal are as follows:

       1. On or about November 7, 2022, the plaintiffs, Anthony Scricca,
Administrator of the Estate of Angelise Rodriguez, Coleen Rodrigu ez, and Angel Miguel

Rodriguez, commenced a civil action against The Boppy Company, LLC, Artsana U.S.A.,

lnc. d/b/a Chicco, and Target Corporation d/b/a Target Stores, lnc. in the Superior Court

of Connecticut, J.D. of New Haven at New Haven, titled Anthony Scricca, Administrator

of the Estate of Anoeli se Rodriquez. Coleen Rodriouez & Anoel M uel Rodriouez v. The
         Case 3:22-cv-01497-RNC Document 1 Filed 11/23/22 Page 2 of 46



Boppy Companv, LLC. Artsana U.S.A.. lnc.. d/b/a Chicco, and Tarqet Corporation d/b/a

Tarqet Store. Inc. (the "New Haven Action"), Docket Number NNH-CV22-6128082-5.

         2.   The plaintiffs' Complaint alleges that as a result of the defendants' violation

of the Connecticut Product Liability Act, violation of the Connecticut Unfair            Trade

Practices Act, and recklessness, plaintiff Angelise Rodriguez was caused to suffer cardiac

arrest, respiratory failure, severe lactic acidosis, hyperkalemia, hypoxic ischemic injury

likely from suffocation, injury of head and neck with skull fracture, and death. The plaintiffs'

Complaint further alleges that as a result of the defendants' violation of the Connecticut

Product Liability Act, violation   of the Connecticut Unfair Trade         Practices Act, and

recklessness, plaintiffs Coleen Rodriguez and Angel Miguel Rodriguez have lost the

consortium, society, care and companionship of their daughter Angelise Rodriguez, and

will continue to suffer such a loss in the future. The Complaint states that the plaintiffs

incurred substantial sums of money for Angelise Rodriguez's medical care necessitated

by the injuries incurred. lt further alleges that the plaintiffs were required to spend

substantial sums of money for Angelise Rodriguez's funeral expenses. Finally, it alleges

that Angelise Rodriguez has experienced pain and suffering, loss of enjoyment of life's

leisure activities, and loss of earning capacity. The demand for relief claims monetary

damages in excess of $15,000.

         3.   This Notice of Removal is filed pursuant to 28 U.S.C. SS 1441 and 1332

because complete diversity exists between the plaintiffs and the defendants and the

amount in controversy exceeds the sum or value of $75,000, exclusive of interest and

costs.
        Case 3:22-cv-01497-RNC Document 1 Filed 11/23/22 Page 3 of 46



       4.    There is complete diversity of citizenship between the plaintiffs and the

defendants. Plaintiff Angelise Rodriguez was an individual who resided in New Haven,

Connecticut and who was a citizen of the State of Connecticut.

       5.     Plaintiff Coleen Rodriguez is an individual who resides in New Haven,

Connecticut and who is a citizen of the State of Connecticut.

       6.     Plaintiff Angel Miguel Rodriguez is an individualwho resides in New Haven,

Connecticut and who is a citizen of the State of Connecticut.

       7.     Upon information and belief, defendant The Boppy Company, LLC, is a

single member Colorado limited liability company that maintains its principal place of

business in Golden, Colorado. The sole member of The Boppy Company, LLC is Artsana,

S.p.A. Artsana, S.p.A is an ltalian corporation with its principal place of business    in

Grandate, Como, ltaly.

       8.     Defendant Artsana U.S.A. lnc., d/b/a Chicco is a New Jersey corporation

that maintains its principal place of business in Lancaster, Pennsylvania.

       9.     Defendant Target Corporation dlbla Target Stores, lnc., is     a   Minnesota

corporation that maintains its principal place of business in Minneapolis, Minnesota.

       10.    Upon information and belief, the amount in controversy of the New Haven

action exceeds the sum or value of $75,000, exclusive of interest and costs. The amount

in controversy appears to exceed such sum or value based on the extensive list of injuries

alleged in the Complaint. The plaintiff also claims non-economic damages in the form of

pain and suffering and loss of enjoyment of life's leisure activities and loss of earning

capacity. Finally, the plaintiff claims double damages for the defendants' alleged
        Case 3:22-cv-01497-RNC Document 1 Filed 11/23/22 Page 4 of 46



recklessness and punitive damages         for the defendants' alleged violation of      the

Connecticut Unfair Trade Practices Act.

       11.    Pursuant to 28 U.S.C. S 1446(b)(1), this Notice of Removal is being timely

filed within 30 days of the defendant Target Corporation dlbla Target Stores, lnc.'s receipt

of the initial state court pleading. Target Corporation d/b/a Target Stores, Inc. was served

with process on November 8, 2022. Accordingly, the time for filing this Notice under the

provisions of 28 U.S.C. S 1446 has not expired.

       12.    Defendants The Boppy Company, LLC and Artsana U.S.A., lnc. dlbla

Chicco have no counsel on record, as no counsel has filed an appearance on behalf of

these defendants. Additionally, counsel for The Boppy Company, LLC and Artsana

U.S.A., lnc. d/b/a Chicco are not due to file an appearance until December 20,2022,

which is past the 30 days this Notice of Removal must be filed by to comply with the

requirements of 28 U.S.c. S 1446(bxl ). As such, counsel for The Boppy Company, LLC

and Artsana U.S.A., lnc. d/b/a Chicco are not able to join in or consent to this Notice of

Removal pursuant to 28 USCS S 1441(bX2XA). Target Corporation dlbla Target Stores,

lnc. will make all efforts possible to join in or obtain the consent of The Boppy Company,

LLC and Artsana U.S.A., lnc. d/b/a Chicco to this Notice of Removalwhen an appearance

is filed by counsel for The Boppy Company, LLC and Artsana U.S.A., lnc. d/b/a Chicco.

       13.    This Court would have had original subject matter jurisdiction of this action

underthe provisions of 28 U.S.C. S 1332 if the New Haven Action had originally been

brought in Federal court. Removal, therefore, is proper under 28 U.S.C. $ 1441(a).

       14.    Removal of this case on the basis of diversity citizenship is not precluded

by 28 U.S.C S 1441(bX2) because none of the parties in interest has joined and served
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as a defendant a citizen of the State of Connecticut, which is the State in which the New

Haven Action was brought.

       15.    All state court papers served on the defendant at the time of removal,

consisting of the summons and compl aint, are attached hereto as Exhibit A

       16.    Written notice of the filing of this Notice has been given to all parties as

required by law (Exhibit B).

       17.     Pursuant to 28 USC 51446(d), the defendant has notified the Superior Court

of the State of Connecticut of the filing of this petition.

       For the reasons set forth above, the defendant hereby removes this action from

the Superior Court of Connecticut, J.D. of New Haven at New Haven, to this Court.


                                             DEFENDANT,
                                             TARGET CORPORATION D/B/A
                                             TARGET STORES, INC.

                                             By: /s/ Renee W. Dwver ct10580
                                             Renee W. Dwyer, ct10580
                                             641 Farmington Avenue
                                             Hartford, CT 06105
                                             Phone: (860) 523-8000
                                             Fax: (860) 523-8002
                                             E-Mail rdwver(Oco         ohton.com
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                                       CERTIFICATION

    I hereby certify that on November 23, 2022, a copy of the foregoing Notice of
Removal was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the
Court's electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court's CM/ECF System.
                                             lsl Renee W      r ct1 0580
                                             Renee W. Dwyer, ct10580
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                        Exhibit A
                           Case 3:22-cv-01497-RNC Document 1 Filed 11/23/22 Page 8 of 46

 suMMoNs - clvtL
 JD-CV-1 Rev.2-22
 9 G.S 55 s1-346,51-347,51-349.51-380, 524Se, 92-48, 52-2s9;
 P.B. SS 3-l through 3-21,8-1, 1O-13

 lnstructions are on page 2.
                                                                                   For informatlon on
                                                                                   ADA accommodations,
                                                                                   contact a court cletk or
                                                                                   go loi www jud.ct.gov/ADA.
                                                                                                                                            STATE OF CONNECTICUT
                                                                                                                                                    SUPERIOR COURT
                                                                                                                                                                wwwjud.ct.gov
                                                                                                                                                                                            ffi
                                                                                                                                                                                            wtu/
I          Setect if amount, legal interest, or property in demand, not including interest and costs, is LESS
                                                                                                              than $2,S00.
B         Setect if amount, legal interest, or property in demand, nol including interest and costs, is $2,500 or MoRE.

fl        setect if claiming other relief in addition to, or in place of, money or damages.

TO: Any proper officer
By authority of the state of connecticut, you are hereby commanded to make due and legal service
                                                                                                 of this summons and attached complaint
               cou.t
                                                                                                           Telephone             of                                                     a
     235 Church Slreet, Neu, Haven, CT 06510                                                               ( 203   ) 503   -   6800                        1420t22
                                             GA.                                                                                                     type coda (S€e /ist on page
                     Session           n     Number:              New Haven                                                                     M          T             Minor: 20
 For the plaintiff(s) enter the appearance of:
                           attorney,             or                              slreet. lolvtr                                                                                    or
     BBB                    LLC, 3651 Main Street, Suile 200, Stratford, CT 066.14                                                                   433193
               numbet                                 Signature
( 203 )      562     -   0900
                                                                                                                                               of papers under           1   0-1   3 0f the
                                                                                                                                               (if agreed)
                                                                                    []ves f,ruo                    liling @bbbatiorneys.com
          Parties
          First           Namo: Scricca, Anthony M., Adminislrator of lhe Estate ol Angelise Yuly Maria Rodriguez
         plalntiff        Addresl: 3651 Main Street, Suite 200.            Slralford, CT 06614                                                                                                P.01
     Additional           Nam6: Rodriguez,Coleen
      plaintiff           Address: tl58      Middletown Ave. Aot 12. New Haven CT 06513                                                                                                       P-02
           First          Namo: The Boppy Company, LLC,                   gS0 lndiana St, Suite 800, Golden,
                                                                                                             CO 80401, United Siates
     defendant            Addrssgi A/F/S: Per Statute                                                                                                                                         D-01
     Additlonal           Name: Artsana U.S.A., lnc. d/b/a Ch icco, 1826 WILLIAM      PENN WAY, LANCASTER, PA, 17601
     defendant                                                                                                                                                                                D-02
                          Addrosg: A/F/S: CT Secretary of State. 165 Capitol Ave.. P.O. BOX 150470.            cI 06115.0470
     Additional           Name: Target Corporation cllb/a Target $tore, lnc.
     defsndant            Addreas: A/F/S: C T Corporation Svstem - 67 Burnside Ave..                                                                                                          D.03
                                                                                        East Hartford. cT 06108
     Additional           Name:
     defendant            AddrasB:                                                                                                                                                            D-04

Total number of plaintiffs:                                       Total number of defendanls: 3
                                             3
                                                                                                                           I          Fornr JD-CV-2 attached for additional parties
Notice to each defendant
'l
     '   You are being sued. This is a summons in a lawsuit. The complaint attached states the claims the plaintiff
                                                                                                                        is making against you.
2'       To receive further notices, you or your attorney must file.an Appearance_(form JD-CL-12) with the
                                                                                                             clerk at the address above. Generally,
         it must be filed on or before the second day afier the Return Dite. Tne Rbturn Date is not a rrearint
                                                                                                               oate. you do not have to come to
         court on the Return Date unless you receive a separate notice telling you to appear.
3.       lf you or.your attorney do not file an Appearance on.time, a default judgment may be entered against you. you
                                                                                                                            can get an Appearance
         form at the court address above, or on-line at hftps:/ljud.ct.gov/webiorfrs/.
4.       lf you believe that you have insurance that              the claim being made against you in this lawsuit, you should immediately contact
         your insurance representative.                     may             described in the Connecticut Practice Book, which may be found in a
         superior court law        or                       .lud             htm.
5.       lfyou have                             ons                               talk to an attorney
         The court staff
                                     (s,sn
                                                                                                  Commissioner of Superior Court              of person
11/07t2022
                                                                                                                               Clork      Peter C. Bowman
lf this summons signed                                                                                                                                          For Couft Use Only
a. The signing                    so that the             will not be denied                             to the courts.                             Filo Date
b. lt is the               of the plaintiff(s) to ensure that service is                          in the manner provided by law
c. The court staff is not permitted to give any legal advice in con                               with any lawsuit.
d. The Clerk signing this summons at the request of the plaintiff(s) is                             responsible in any way for any
     errors or omissions in the summons, any allegations contained'in                              complaint, or the service of the
     summons or complaint.
I certify I have read and                                                                                                                           Docket Number
understand the above:
                                                                                                  ol   2
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lnsbuctlons
1. Type or print legibly. you are a self-represanted party, this summons must be signed by a cle* of the courl.
                            lf
2. ff therc is more than ons defendant, make a copy of the summons for each additionat defendant. Each dafendant must receive      a copy of
     tfiis surnmons. Each copy of the summons must show who signed the summons and when r? was signed. tf therc are more than
                                                                                                                                    two
     plaintiffs or more than four defendants, completa tha Civil Summons Continuation
                                                                                      of Padies (torm J6-CV-2) and attach it to the otginat
     and all copies of the summons.
3.   Attach the summons to the comptaint, and attach a copy of the summons to each copy of the complaint. lnclude a copy
                                                                                                                          of the Civit
     Summons Continuation of Partles form, if applicable.
4'   After se|ice has Deen made by a proper officer, file the oiginal paparc and the officefs rctum of service with the clerk of the court.
5.   Use lfls summons forthe case type codes shown below.
     Do npluse fhis summons fortha following afions:
     (a) Family matters (forexample divorce, chitd    support,                      (e) Administntive   appeals
          custody, parentagd, and visihtion       matters)                          f)  proceedings pertaining to arbitration
     (b) Any actions or proceedings in which an     attachment,                     iil  summatyprocess (Eviction) actions
          gamishment or rcplevy is sought
                                                                                    (h) Entry and Detainer proceedings
     (c) Applications for change of       name                                      (i)   Housing code Enforcement actions
     (cr) probate appeats

Caso Type Codes

      iIAJOR       CODE                                                                                 CODE
                   tldor,                   TINOR DESCruPION                            MAJOR
  DESCRIPIION       Ilhr                                                              DESCRIP1ION
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                                                                                                        Mlnor
 Conlracls          c00      Condruclior . All olhgr                                 Property           p00     Forcclosure
                    ct0      Condrucliql - gato and Local                                               pt0     Paililon
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                    c30      Spedft Porfumance                                                          P30     Ass6l Forfeifur€
                    c40      Collsctons                                                                 PS0     Allohsr
                    c60      UninslrrsdrlJndqhsumd Motdis{ Covongg
                    c80      Unihrm Limilsd [iabiliy Company Act - C,G.S. 9+249
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                    E20      Olhsr S6to or Munldpd Agonclos                                             120     Pm&cb Uabfity - Other han Vehlculat
                    E30      Pubtlc Uti[Uer & Gas Transndsslon Companle                                 T28     Malpnctco - Medlcal
                    E80      Allotrot                                                                   T20     Malptactlco. Legal
                                                                                                        T30     Mapractlce - Al oftor
 Houslng            Hl0      HouCng- Rdum of Saolrity Deposit                                           T40     Asauft rnd Balery
                    H12      Houing - Rent and/or Damagos                                               T50     Dshmaton
                    H ifO    HouCng - Hrusing - Atdita Oueela/lnfu nclion                               T6l     Arimals - Dog
                    H50      Houing - tr6l3sPgdive Appeal                                               T6g     Arhnale - Oher
                    H80      Houing - Muni<ipal Enbrcemant                                              T70     FelsoAroc
                    HS0      llouCng- Al Odrer                                                          T7t     Fire Damaga
                                                                                                        T90     All oher
 Mlscellaneous      M00      lnjunclicr
                    Mt0      Roceiwr$lp                                              Vehlcular Torts    v0t     Moh Vohhles' . Drhsr ard/c Passonge(s) vs, Drive(s)
                    Mt6      Rscdver{rip lbr AbrndonedBlighbd Prryny                                    v{t4    Mohr Vshbles' . Podsstian vs. Drfusr
                    M20      Mandrmus                                                                   v05     Mobr Vohhles' - Proporty Darnrgo onry
                    M30                                     fqn ponsl lnstiutcn)
                             Hab€as Corpui (oldmdition. roloass                                         v08     Motor Vehble' . Productr Uablflty lncluding Wananty
                    M40      Afiihalion                                                                 v00     Motor Vohiclo' - All oher
                    M50      Dschntory Judgrnnt                                                         vt0     Boqb
                    M83      Brr Dlsdplhe                                                               v20     Aitphns
                    M86      Dopntnent of kbor UnonrCoynonl Cornpensatim                                v30     Ralkoadc
                             Enbrcement                                                                 v40     SnowmoHles
                    M80      Bar Dlsdplhe - lnactva StrUs                                               v90     All ohsr
                    M70      Municlpol Odlnanco and Roguhdon Enbrcsmont                                          'Mob,rVohidss hdude can huslts,
                    M80                                                                                           mobrcycles, dld mdor scoolo]s.
                             Forelgn Cidl Judgmentr. C.G.S. 52.6{X & C.G.$. S0*9)
                    M83      Snall Ckimr Tnnslbr to Reguhr Dockel
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                                                                                     and   ftusls       w80     All oher
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                    MS0      All odrsr




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     D
                          RETURN DATE: DECEMBER 20, 2022                             SUPERIOR COURT

          D               ANTHONY SCRICCA, ADMINISTRATOR
                          OF THE ESTATE OF
                          ANGELISE RODRIGUEZ;
                          COLEEN RODRIGUEZ &
                          ANGEL MIGUEL RODRIGUEZ                                     J.D. OF NEW HAVEN

                          v.                                                         AT NEW HAVEN

                          THE BOPPY COMPANY, LLG;
                          ARTSANA U.S.A., INC. D/B/A CHICCO; &
                          TARGET CORPORATION D/B/A
                          TARGET STORE, INC.                                         NOVEMBERT,2022

                                                                COMPLAINT

                          GoUNT oNE: ANTHONY sGRlGgA. ADMTNTSTRAToR oF fHE ESTATE oF
                          ANGELI$E YULY.MARIA RODRIGUEZ V. THE BOPPY COMPANY. LLC
                          PRODUCT LIABILITY
                                                                                                                    -

                               1. The infant decedent, Angelise Yuly Maria Rodriguez, (hereinafterthe "infant
                                  decedent") was a resident of the State of Connecticut with her place of
                                    residence being in the City of New Haven.

                               2.   The Defendant, The Boppy company, LLC, (hereinafter the "Defendant")
                                    was and still is a limited liabitity company operating under the laws of the
                                    state of colorado, with a principal place of business in Golden, colorado.

                               3. on or around october 26, 2022, Anthony scricca, was appointed
                                    Administrator of the Plaintiff, the Estate of Angelise Yuly Maria Rodriguez.

                               4.   Anthony Scricca brings this complaint in his capacity as the Administrator
    trMRilEYS&
    GOUilSSORS                      of the Estate of the decedent, Angelise yuly Maria Rodriguez.
  365T MAIN STREET
           sum200              5.   At all times relevant hereto, the Defendant, had continuous and systematic
        SIM.TORD.CT
               06614
                                    business contacts with the state of Connecticut, selling and distributing its
                                    products throughout the state of Connecticut.
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     D
                                6. At all times mentioned herein, the Defendant, its agents,           servants,
                                      representatives, and/or employees designs, manufactures, distributes,
                                      sells, tested, and/or was charged with providing warnings, instructions,
            -
                                      marketing, packaging, or labeling baby pillows such as Boppy pillows.

                                7.    The Boppy Newborn Lounger was a product sold by the Defendant, and
                                      placed into the stream of commerce.
                                8.    on or about November 8, 2019, the infant decedent, Angelise yury Maria
                                      Rodriguez, aged four months old, was placed in her crib on her back with
                                      the Boppy Newborn Lounger, at her home, in New Haven, connecticut.

                                9.    The infant decedent was found not breathing after she was laid in, on or
                                      around the Boppy Newborn Lounger.

                                10.After being found unresponsive, the infant decedent was taken to Yale New
                                   Haven Hospitalwhere she was later pronounced dead.

                                11.The Plaintiff is a claimant, as defined under General Statutes g s2-S72m.

                                12.   The Boppy Newborn Lounger at issue was put into the stream of commerce
                                      by the defendant.

                                13.The Boppy Newbom Lounger at issue was expected to, and did reach, the
                                   consumer without substantial change in condition.

                                14.The Boppy Newborn Lounger was defective and unreasonably dangerous
                                   to the decedent in that the Boppy Newborn Lounger caused injury to the
                                   decedent.

                                15.The Defendant is legally responsible for the losses and injuries sustained
                                   by the plaintiff/claimant as a result of the defective and dangerous product
                                   pursuant to connecticut General Statutes section s2-sr2m, et seq. (The
                                   connecticut Product Liability Act), in one or more of the following ways, in
    trtonilEfs&
    GOUIISEIIRS                    that it:
   3651 mAtil STnEEI
           sulrE200                      a.   put the Boppy Newborn Lounger in to the stream of commerce in a
       slRAlfORD,O
                    06614
                                              defective, unsafe, and dangerous condition, thereby subjecting the
                                              plaintiff to an unreasonable risk of injury;
4t iloRIH   MAtil   SnffI
                sjm303
   IfISTMnlfORD,CT
              0610t

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     F 20350{Xr02
 EBBATTOR}IBIS.COM                                                     2
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   D
                                  b.   knew or should have known that the Boppy Newborn Lounger was
                                       so dangerous that it posed a danger of harm to children who used it;
          D
                                  c.   negligently failed to test and/or inspect the Boppy Newbom Lounger
                                       prior to their ultimate sale and exposure to the customer, thus
                                       causing a significant hazard to its customers including the plaintiff;

                                  d.   failed to identifiT the foreseeable risk in the product and/or remedy
                                       the risk prior to the exposure of the product to the consumer;

                                  e.   breached its statutory implied wananty of merchantability in that the
                                       Boppy Newborn Lounger was not reasonably safe and not fit for the
                                       ordinary purposes for which they were sold;

                                  f.   placed the Boppy Newborn Lounger in to the stream of commerce
                                       and/or exposed consumers to a defective andlor dangerous product;

                                  g.   failed to provide its customers with an adequate waming of the
                                       significant injury hazards associated with using and/or purchasing its
                                       product;

                                  h.   failed to provide its customers with an adequate instruction and/or
                                       training of the use of the production and of the significant injury
                                       hazards associated with using and/or purchasing its product;

                                  i.   violated and failed to comply with all aspects of selling a safe product,
                                       including any and all claims related to the Connecticut Product
                                       Liability Statute;

                                  j.   failed to conduct proper safeg testing on the Boppy Newborn
                                       Lounger or in the manufacturing process as to prevent injuries in
                                       using the Boppy Newborn Lounger; and

   trMRilEYSA
   GdIilSEORS                     k. failed to  provide additional warnings to users once it knew or
                                       reasonably should have known that the Boppy Newborn Lounger or
  355I   MAII{ STREET
           sum200                      its usage would cause potential asphyxiation deaths.
       SIRAIfOND,CT
              0661{
                            16.As a result of the defendant's breach of the Connecticut Product Liability
4l MRMUAflSIREET
            sum303             Act by the Defendant its agents, representatives, servants, and/or
  TVESTHAMTOND,CT
                               employees, the decedent suffered the following injuries:
               06107


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   t   203il2$n2
BBBATIORI{EIIS.@M                                                  3
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       D

                                       a.   cardiac arrest;
              D
                                       b.   respiratory failure;

                                       c.   severe lactic acidosis;

                                       d. hyperkalemia;
                                       e. hypoxic    ischemic injury likely from suffocation:

                                       f.   injury of head and neck with skull fracture; and

                                       g.   death.

                               17.Due to the dangerous and defective condition of the Boppy Newborn
                                  Lounger, the infant decedent sustained and suffered serious and severe
                                  personal injuries and death.

                               18.8y turther violation of the product liability act by the defendant as aforesaid,
                                  the Plaintiff was required to spend substantial sums of money for the infant
                                  decedent's medical care necessitated by the injuries incurred.

                               19.As  a further violation of the product liability act by the Defendant as
                                  aforesaid, the Plaintiff was required to spend substantial sums of money for
                                  the infant decedent's funeral expenses.

                               20.As a further violation of the product liability act by the defendant as
                                  aforesaid, the Plaintiff has experienced pain and suffering, loss of
                                  enjoyment of life's leisure activities, and loss of earning capacity.

                            GOUNT TWO: ANTHONY SGRICCA. ADMINISTRATOR OF THE ESTATE
                            ANGELISE YULY MARIA RODRIGUEZ V. ARTSANA U.S.A.. INC. D/B'A
                            CHICCO - PRODUCT LIABILITY
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      GlIrItsBons              1. The infant decedent,        Angelise Yuly Maria Rodriguez, (hereinafter the "infant
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                                  decedent') was a resident of the State of Connecticut with her place of
              sum200              residence being in the City of New Haven.
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                               2. The  Defendant, Artsana u.s.A. lnc. dlbla chicco, (hereinafter the
             sum303               "Defendanf') was and still is a corporation duly incorporated under the laws
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                                 of the State of New Jersey, with a principal place of business in Lancaster,
                                 Pennsylvania.

         -                  3. On or around October 26, 2022, Anthony Scricca, was appointed
                                 Administrator of the Plaintiff, the Estate of Angelise Yuly Maria Rodriguez.

                            4.   Anthony Scricca brings this complaint in his capacity as the Administrator
                                 of the Estate of the decedent, Angelise Yuly Maria Rodriguez.

                            5.   At alltimes relevant hereto, the Defendant, had continuous and systematic
                                 business contacts with the state of Connecticut, selling and distributing its
                                 products throughout the state of Connecticut.

                            6. At all times mentioned herein, the Defendant, its agents,          servants,
                                 representatives, and/or employees designs, manufactures, distributes,
                                 sells, tested, and/or was charged with providing warnings, instructions,
                                 marketing, packaging, or labeling baby pillows such as Boppy Pillows.

                            7.   The Boppy Newborn Lounger was a product sold by the Defendant.

                            8.   On or about November 8,2019, the infant decedent, Angelise Yuly Maria
                                 Rodriguez, at only four months old, was placed in her crib on her back, with
                                 the Boppy Newborn Lounger, at her home, in New Haven, Connecticut.

                            9.   The infant decedent was found not breathing after she was laid in or around
                                 the Boppy Newborn Lounger.

                            10.After being found unresponsive, the infant decedent was taken to Yale New
                               Haven Hospitalwhere she was later pronounced dead.

                            1   1.The Plaintiff is a claimant, as defined under General Statutes g 52-bz2m.

                            12,The Boppy Newborn Lounger at issue was put into the stream of commerce
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   ItrUTSEIIB                  by the defendant.

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             sum2d,         13.The Boppy Newborn Lounger at issue was expected to, and did reach, the
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                               consumer without substantial change in condition.

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     -                      14.The Boppy Newborn Lounger was defective and unreasonably dangerous
                               to the decedent in that the Boppy Newborn Lounger caused injury to the
            D                  decedent.

                            15.The Defendant is legally responsible for the losses and injuries sustained
                               by the plaintiff/claimant as a result of the defective and dangerous product
                               pursuant to connecticut General statutes section s2-572m, et seq. (The
                               connecticut Product Liability Act), in one or more of the following ways, in
                               that it:

                                  a.   put the Boppy Newborn Lounger in to the stream of commerce in a
                                       defective, unsafe, and dangerous condition, thereby subjecting the
                                       plaintiff to an unreasonable risk of injury;

                                  b. knew or should have known that the Boppy Newborn         Lounger was
                                       so dangerous that it posed a danger of harm to children who used it;

                                  c. negligently failed to test and/or inspect the Boppy Newbom Lounger
                                       prior to their ultimate sale and exposure to the customer, thus
                                       causing a significant hazard to its customers including the plaintiff;

                                  d.   failed to identify the foreseeable risk in the product and/or remedy
                                       the risk prior to the exposure of the product to the consumer;

                                  e. breached    its statutory implied warranty of merchantability in that the
                                       Boppy Newborn Lounger was not reasonably safe and not fit for the
                                       ordinary purposes for which they were sold;

                                  f.   placed the Boppy Newborn Lounger into the stream of commerce
                                       and/or exposed consumers to a defective and/or dangerous product;

                                  g. failed to provide its customers with an adequate        warning of the
                                       significant injury hazards associated with using and/or purchasing its
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             sum200               h.   violated and failed to comply with all aspects of selling a safe product,
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                                       including any and all claims related to the connecticut Product
                                       Liability Statute;
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     D
                                   i.      failed to provide its customers with an adequate instruction and/or
                                           training of the use of the production and of the significant injury
          D                                hazards associated with using and/or purchasing its product;

                                           failed to conduct proper safety testing on the Boppy Newbom
                                           Lounger or in the manufacturing process as to prevent injuries in
                                           using the Boppy Newborn Lounger;

                                   k. failed to      provide additional warnings to users once it knew or
                                           reasonably should have known that the Boppy Newborn Lounger or
                                           its usage would cause potentialasphyxiation deaths;

                            16.As a result of the Defendant's breach of the Connecticut Product Liability
                               Act by the Defendant its agents, representatives, seryants, and/or
                               employees, the decedent suffered the following injuries:

                                   a.      cardiac arrest;

                                   b.      respiratory failure;

                                   c.      severe lactjc acidosis;

                                   d. hyperkalemia;
                                   e. hypoxic ischemic            injury likely from suffocation;

                                   f   .   injury of head and neck with skullfracture; and

                                   g.      death.

                            17.Due to the dangerous and defective condition of the Boppy Newborn
                               Lounger, the infant decedent sustained and suffered serious and severe
                               personal injuries and death.


    AflORIIEYS&
                            18. By further violation ofthe product liability act by the defendant as aforesaid,
    GOUf,SEUIS                 the Plaintiff was required to spend substantial sums of money for the infant
   3651 MAIiI S'REEI           decedent's medical care necessitated by the injuries incurred.
           sum200           19,As a further violation of the product liability act by the Defendant as
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              06614            aforesaid, the Plaintiff was required to spend substantial sums of money for
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                               the infant decedent's funeral expenses.
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                              20.As a further violation of the product liability act by the defendant as
                                 aforesaid, the Plaintiff has experienced pain and suffering, loss of
            D                      enjoyment of life's leisure activities, and loss of earning capacity.

                           GOUNT THREE: ANTHONY SGRIGGA. ADMINISTRATOR OF THE ESTATE
                           ANGELISE YULY MARIA RODRIGUEZ V. TARGET CORPORATION D'B/A
                           TARGET STORES. INC. - PRODUGT LIABILITY

                              1. The infant decedent, Angelise Yuly Maria Rodriguez, (hereinafterthe "infant
                                 decedent") was a resident of the State of Connecticut with her place of
                                   residence being in the City of New Haven.

                              2.   The defendant, Target corporation d/b/a Target stores, lnc., (hereinafter
                                   the "Defendant") was and still is a corporation duly incorporated under the
                                   laws of the state of Minnesota, with a principal place of business in
                                   Minneapolis, Minnesota.

                              3. On or around October 26, 2022, Anthony Scricca, was                  appointed
                                   Administrator of the Plaintiff, the Estate of Angelise Yuly Maria Rodriguez.

                              4.   Anthony Scricca brings this complaint in his capacity as the Administrator
                                   of the Estate of the decedent, Angelise Yuly Maria Rodriguez.

                              5. At alltimes   relevant hereto, the Defendant, had continuous and systematic
                                   business contacts with the state of Connecticut, selling and distributing its
                                   products throughout the state of Connecticut.

                              6. At all times mentioned herein, the Defendant, its agents,          servants,
                                   representatives, andlor employees designs, manufactures, distributes,
                                   sells, tested, and/or was charged with providing warnings, instructions,
                                   marketing, packaging, or labeling baby pillows such as Boppy Pillows.

                              7.   The Boppy Newborn Lounger was a product sold by the Defendant.
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                              8.   On or about November 8, 2019, the infant decedent, Angelise Yuly Maria
             sum200                Rodriguez, at only four months old, was placed in her crib on her back with
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                                   the Boppy Newborn Lounger, at her home, in New Haven, Connecticut.

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             sum3@            9.   The infant decedent was found not breathing after she was laid in or around
     lttsiltAmonD,cr               the Boppy Newborn Lounger.
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                              10.After being found unresponsive, the infant decedent was taken to Yale New
           D                     Haven Hospitalwhere she was later pronounced dead.

                              11.The Plaintitf is a claimant, as defined under General statutes $ s2-s72m

                              12.The Boppy Newborn Loungerat issue was put into the stream of commerce
                                 by the Defendant.

                              13.The Boppy Newborn Lounger at issue was expected to, and did reach, the
                                 consumer without substantial change in condition.

                              14.The Boppy Newborn Lounger was defective and unreasonably dangerous
                                 to the decedent in that the Boppy Newborn Lounger caused injury to the
                                 decedent.

                              15.The Defendant is legally responsible for the losses and injuries sustained
                                 by the plaintiff/claimant as a result of the defective and dangerous product
                                 pursuant to Connecticut General Statutes Section 52-572m, et seq. (The
                                 connecticut Product Liability Act), in one or more of the following ways, in
                                 that it:

                                    a.   put the Boppy Newborn Lounger into the stream of commerce in a
                                         defective, unsafe, and dangerous condition, thereby subjecting the
                                         plaintiff to an unreasonable risk of injury;

                                    b.   knew or should have known that the Boppy Newborn Lounger was
                                         so dangerous that it posed a danger of harm to children who used it;

                                    c. negligently failed to test and/or inspect the Boppy Newborn Lounger
                                         prior to their ultimate sale and exposure to the customer, thus
                                         causing a significant hazard to its customers including the plaintiff;

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      Gouttsg,o$                    d.   failed to identify the foreseeable risk in the product and/or remedy
                                         the risk prior to the exposure of the product to the consumer;
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                                    e.   breached its statutory implied warranty of merchantability in that the
                                         Boppy Newborn Lounger was not reasonably safe and not fit for the
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              sum 303                    ordinary purposes for which they were sold;
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                                    f.   placed the Boppy Newborn Lounger in to the stream of commerce
                                         and/or exposed consumers to a defective and/or dangerous product;
           D
                                    g.   failed to provide its customers with an adequate warning of the
                                         significant injury hazards associated with using and/or purchasing its
                                         product;
                                    h.   violated and falled to complywith allaspectsof selling a safe product,
                                         including any and all claims related to the connecticut product
                                         Liability Statute;

                                    i.   failed to provide its customers with an adequate instruction and/or
                                         training of the use of the production and of the significant injury
                                         hazards associated with using and/or purchasing its product; and

                                    j.   failed to provide additional warnings to users once  it knew or
                                         reasonably should have known that the Boppy Newbom Lounger or
                                         its usage would cause potential asphyxiation deaths.

                              16.As a result of the Defendant's breach of the Connecticut Product Liabilig
                                 Act by the Defendant its agents, representatives, servants, and/or
                                 employees, the decedent suffered the following injuries:

                                    a.   cardiac anest;

                                    b. respiratory failure;
                                    c.   severe lactic acidosis;

                                    d.   hyperkalemia;

                                    e.   hypoxic ischemic injury likely from suffocation;

                                    f-   injury of head and neck with skull fracture; and

    ATTOR]IETS&                     g.   death.
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                              17.Due to the dangerous and defective condition of the Boppy Newborn
            sum200               Lounger, the infant decedent sustained and suffered serious and severe
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                           18. By further violation of the product liability act by the Defendant as aforesaid,
                                the Plaintiff was required to spend substantial sums of money for the infant
                                decedent's medical care necessitated by the injuries incuned.
          -
                           19.As a further violation of the product liability act by the Defendant as
                                aforesaid, the Plaintiff was required to spend substantial sums of money for
                                the infant decedent's funeral expenses.

                           20.As a further violation of the product liability act by the defendant as
                              aforesaid, the Plalntiff has experienced pain and suffering, loss of
                                enjoyment of life's leisure activities, and loss of earning capacity.

                        COUNT FOUR: LOSS OF CONSORTIUM                    -   COLEEN RODRTGUEZ

                           1. All paragraphs of Counts One, Two and Three are hereby        incorporated and
                                restated as if set for and incorporated as Paragraph 1 of Count Four.

                           2.   The plaintiff, Coleen Rodriguez, is the motherof the infantdecedent, Angelise
                                Yuly Maria Rodriguez.

                           3.   As a further result of the violation of the product liability act of the defendant,
                                as well as the injuries to the infant decedent, has lost the consortium, society,
                                care and companionship of her daughter, and will continue to suffer such a
                                loss in the future.

                           4.   The plaintiff brings these claims against all defendants as named in Counts
                                One, Two and Three.

                        COUNT FIVE: LOSS OF CONSORTIUM                -   ANGEL MIGUEL RODRTGUEZ

                           1. All paragraphs of Counts One, Two and Three are hereby        incorporated and
                                restated as if set for and incorporated as Paragraph 1 of Count Four.

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    G0tnsH.0B              2. The plaintiff, Angel Miguel  Rodriguez, is the father of the infant decedent,
                                Angelise Yuly Maria Rodriguez.
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                           3.   As a further result of the violation of the product liability act of the defendant,
                                as wellas the injuries to the infant decedent, has lost the consortium, society,
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              $JM3F             care and companionship of his daughter, and will continue to suffer such a
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                                loss in the future.
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                                4.   The plaintiff brings these claims against all defendants as named in Counts
            D                        One, Two and Three.

                             CoUNT $lX: ANTHONY SGRICCA. APMINISTRAToR OF THE ESTATE
                             ANGELISE YULY MARIA RODRIGUEZ V. THE BOPPY COMPANY. LLC -
                             RECKLESSNESS PURSUANT TO C52.240b

                                1. The infant decedent,   Angelise Yuly Maria Rodriguez, (hereinafter the 'infant
                                     decedent") was a resident of the State of Connecticut with her place of
                                     residence being in the City of New Haven.

                                2.   The Defendant, The Boppy company, LLG, (hereinafter the "Defendant")
                                     was and still is a limited liability company operating under the laws of the
                                     State of Colorado, with a principal place of business in Golden, Colorado.

                                3. On or around October 26, 2022, Anthony Scricca, was appointed
                                     Administrator of the Plaintiff, the Estate of Angelise Yuly Maria Rodriguez.

                                4.   Anthony Scricca brings this complaint in his capacity as the Administrator
                                     of the Estate of the decedent, Angelise Yuly Maria Rodriguez.

                                5.   At all times relevant hereto, the Defendant, had continuous and systematic
                                     business contacts with the state of Connecticut, selling and distributing its
                                     products throughout the state of Connecticut.

                                6. At all times mentioned herein, the Defendant, its agents,            servants,
                                     representatives, and/or employees designs, manufactures, distributes,
                                     sells, tested, and/or was charged with providing warnings, instructions,
                                     marketing, packaging, or labeling baby pillows such as Boppy Pillows.

                                7.   The Boppy Newborn Lounger was a product sold by the Defendant.

      frIURilETEA
       GoutsEmns                8.   On or about November 8, 2019, the infant decedent, Angelise Yuly Maria
                                     Rodriguez, at only four months old, was placed in her crib on her back, with
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              sum200                 the Boppy Newborn Lounger, at her home, in New Haven, Connecticut.
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                                9.   The infant decedent was found not breathing after she was laid in or around
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               sum303                the Boppy Newborn Lounger.
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       -                         10.After being found unresponsive, the infant decedentwas taken to Yale New
                                    Haven Hospital where she was later pronounced dead.
              D
                                 1   1.The Plaintiff is a claimant, as defined under General Statutes g 52-572m.

                                 12.The Boppy Newborn Lounger at issue was put into the stream of commerce
                                    by the defendant.

                                 13.The Boppy Newborn Lounger at issue was expected to, and did reach, the
                                    consumer without substantial change in condition.

                                 14.The defendant recklessly sold The Bobby Newborn Lounger to the public
                                    when it was not reasonably safe and not fit for the ordinary purposes for which
                                    they were sold.

                                 15.The defendant recklessly sold The Bobby Newborn Lounger to the public
                                    despite prior claims against the it for losses and injuries similar to the losses
                                    and injuries of the Plaintiff.

                                 16.The injuries and damages of the plaintiff was the result of the product selle/s
                                    reckless disregard for the safety of product users, consumers or others who
                                    were injured by the product, including the following:

                                          a.   Selling over 3.3 million Boppy Newborn Loungers, under the names
                                               Boppy Original Newborn Loungers, Boppy Prefened Newborn
                                               Loungers and Pottery Barn Kids Boppy Newborn Loungers;

                                          b.   Knew, should have known or otherwise having complete reckless
                                               disregard that infants can suffocate if they roll, move, or are placed on
                                               the lounger in a position that obstructs breathing, or roll off the lounger
                                               onto an external surface, such as an adult pillow or soft bedding that
                                               obstructs breathing;

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       GoultsgSns                         c.   Being forced to recall the item by the consumer product safety
                                               Commission as a result of at least eight (8) reports of deaths
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               sum200                          associated with the product, instead of conducting their own proper
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                                               testing to determine the safety of the product;

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                                     d.   Knew, should have known or otherwise having complete reckless
                                          disregard that the products were too risky to be sold to the general
             D                            public for use by consumers, including the plaintiffs; and

                                     e. Placed profit over safety in failing to conduct  sufficient safety testing,
                                          analysis or provide sufficient wamings as to the potential dangers of
                                          this products to infants, including the decedent.

                               17.The losses and injuries sustained by the plaintiff/claimant was due to the
                                  Defendant's reckless disregard for the safety of product uses, consumers,
                                  and others injured by The Newborn Boppy Lounger, including the plaintiff,
                                  in that it:

                                     a.   deliberately sold The Bobby Newborn Lounger to the public when it
                                          knew or should have known when it was not reasonably safe and not
                                          fit for the ordinary purposes for which they were sold.

                                     b.   deliberately continued to sell The Bobby Newborn Lounger to the
                                          public despite prior claims against it for losses and injuries similar to
                                          the losses and injuries of the Plaintiff.

                                     c.   recklessly failed to test and/or inspect the Boppy Newborn Lounger
                                          despite prior claims against it for losses and injuries similar to the
                                          losses and injuries of the Plaintiff;

                                     d.   failed to identify the foreseeable risk in the product and/or remedy
                                          the risk prior claims against it for losses and injuries similar to the
                                          losses and injuries of the Plaintiff;

                                     e. breached its statutory implied warranty of merchantability
                                                                                              in that the
                                          Boppy Newborn Lounger was not reasonably safe and not fit for the
                                          ordinary purposes for which they were sold;

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     GoUr$E0ns                       f.   placed the Boppy Newbom Lounger in to the stream of commerce
                                          when it knew or should have known that it exposed consumers,
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              sum200                      including the infant decedent, to a defective and/or dangerous
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                                          product;

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                            18.All of the aforementioned violations were engaged in by the Defendant
                               either deliberately or with reckless disregard as to the consequences and
        D                      were a substantialfactor in causing injury to the Plaintiff.

                            19.As a result of the Defendant's breach of the Connecticut Product Liabilig
                               Act by the Defendant its agents, representatives, servants, and/or
                               employees, the decedent suffered the following injuries:

                                     a.   cardiac arrest;

                                     b.   respiratory failure;

                                     c.   severe lactic acidosis;

                                     d. hyperkalemia;
                                     e. hypoxic ischemic         injury likely from suffocation;

                                     f.   injury of head and neck with skullfracture; and

                                     g.   death.

                            20.   Due to the dangerous and defective condition of the Boppy Newborn
                                  Lounger, the infant decedent sustained and suffered serious and severe
                                  personal injuries and death.

                            21.8y further violation of the product liability act by the Defendant as aforesaid,
                               the Plaintiff was required to spend substantial sums of money for the infant
                               decedent's medical care necessitated by the injuries incuned.

                            22.4s a fufther violation of the product liability act by the Defendant as
                                  aforesaid, the Plaintiff was required to spend substantial sums of money for
                                  the infant decedent's funeral expenses.


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                            23.As a further violation of the product liability act by the defendant as
   GOilSET0RS                  aforesaid, the Plaintiff has experienced pain and suffering, loss of
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                                  enjoyment of life's leisure activities, and loss of earning capacig.
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               06614        24.The plaintiff is entitled to punitive damages as a result of the reckless
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                               conduct pursuant to General Statutes Sec. 52-240b.
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                             COUNT SEVEN: ANTH-ONY SGBIGCA. ADMINISTRATOR OF THE ESTATE
                             ANGELISE YULY MARIA RODRIGUEZV. ARTSANA U.S.A.. INC. D/B/A CHICCO
            D
                             - RECKLESqNESS PURSUANT TO S52-240b
                                1   . The infant decedent, Angelise Yuly Maria Rodriguez, (hereinafter the "infant
                                      decedent") was a resident of the State of Connecticut with her place of
                                      residence being in the City of New Haven.

                                2. The Defendant, Artsana U.S.A. lnc. dlbla Chicco, (hereinafter                the
                                      "Defendanf') was and still is a corporation duly incorporated under the laws
                                      of the State of New Jersey, with a principal place of business in Lancaster,
                                      Pennsylvania.

                                3. On or around October 26, 2022, Anthony Scricca, was appointed
                                      Administrator of the Plaintiff, the Estate of Angelise Yuly Maria Rodriguez.

                                4.    Anthony Scricca brings this complaint in his capacity as the Administrator
                                      of the Estate of the decedent, Angelise Yuly Maria Rodriguez.

                                5.    At alltimes relevant hereto, the Defendant, had continuous and systematic
                                      business contacts with the state of Connecticut, selling and distributing its
                                      products throughout the state of Connecticut.

                                6. At all times mentioned herein, the Defendant, its agents,           servants,
                                      representatives, and/or employees designs, manufactures, distributes,
                                      sells, tested, and/or was charged with providing warnings, instructions,
                                      marketing, packaging, or labeling baby pillows such as Boppy Pillows.

                                7.    The Boppy Newborn Lounger was a product sold by the Defendant

                                8. on or about November        B, 2019, the infant decedent, Angelise yuly Maria
                                      Rodriguez, at only four months old, was placed in her crib on her back, with
                                      the Boppy Newborn Lounger, at her home, in New Haven, Connecticut.
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                                9.    The infant decedentwas found not breathing after she was laid in or around
             sum 200                  the Boppy Newborn Lounger.
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                                10.After being found unresponsive, the infant decedent was taken to Yale New
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              sum303               Haven Hospitalwhere she was later pronounced dead.
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    D
                           11.The Plaintiff is a claimant, as defined under General Statutes g 52-572m.

          D                12.The Boppy Newborn Lounger at issue was put into the stream of commerce
                              by the defendant.

                           13.The Boppy Newborn Lounger at issue was expected to, and did reach, the
                              consumer without substantial change in condition.

                           14.The defendant recklessly sold The Bobby Newbom Lounger to the public
                                 when it was not reasonably safe and not fit for the ordinary purposes for which
                                 they were sold.

                           15.The defendant recklessly sold The Bobby Newborn Lounger to the public
                              despite prior claims against the it for losses and injuries similar to the losses
                              and injuries of the Plaintiff.

                           16.   The injuries and damages of the plaintiff was the result of the product selte/s
                                 reckless disregard for the safety of product users, consumers or others who
                                 were injured by the product, including the following:

                                    a.   Selling over 3.3 million Boppy Newborn Loungers, under the names
                                         Boppy Original Newborn Loungers, Boppy Prefened Newborn
                                         Loungers and Pottery Bam Kids Boppy Newborn Loungers;

                                    b. Knew, should have        known or otherwise having complete reckless
                                         disregard that infants can suffocate if they roll, move, or are placed on
                                         the lounger in a position that obstructs breathing, or roll otf the lounger
                                         onto an external surface, such as an adult pillow or soft bedding that
                                         obstructs breathing;

                                    c. Being forced to recall the item by the Consumer Product Safety
                                       Commission as a result of at least eight (8) reports of deaths
                                         associated with the product, instead of conducting their own proper
   frflIRIIEYS&
    coutsGulRs                           testing to determine the safety of the product;
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           sum200                   d.   Knew, should have known or otherwise having complete reckless
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                                         disregard that the products were too risky to be sold to the general
                                         public for use by consumers, including the plaintiffs; and
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       D
                                        e. Placed profit over safety in failing to conduct  sufficient safety testing,
                                             analysis or provide sufficient warnings as to the potential dangers of
            D                                this products to infants, including the decedent.

                                 17.The losses and injuries sustained by the plaintiff/claimant was due to the
                                    Defendant's reckless disregard for the safety of product uses, consumers,
                                    and others injured by The Newborn Boppy Lounger, including the plaintiff,
                                    in that it:

                                        a.   deliberately sold The Bobby Newborn Lounger to the public when it
                                             knew or should have known when it was not reasonably safe and not
                                             fit for the ordinary purposes for which they were sold.

                                        b.   deliberately continued to sell The Bobby Newbom Lounger to the
                                             public despite prior claims against it for losses and injuries similar to
                                             the losses and injuries of the Plaintiff.

                                        c.   recklessly failed to test and/or inspect the Boppy Newborn Lounger
                                             despite prior claims against it for losses and injuries similar to the
                                             losses and injuries of the Plaintiff;

                                        d.   failed to identify the foreseeable risk in the product and/or remedy
                                             the risk prior claims against it for losses and injuries similar to the
                                             losses and injuries of the Plaintiff;

                                        e. breached its statutory implied warranty of merchantability
                                                                                                 in that the
                                             Boppy Newborn Lounger was not reasonably safe and not flt for the
                                             ordinary purposes for which they were sold;

                                        f.   placed the Boppy Newborn Lounger in to the stream of commerce
                                             when it knew or should have known that it exposed consumers,
                                             including the infant decedent, to a defective andlor dangerous
                                             product;
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                                  18.All of the aforementioned violations were engaged in by the Defendant
              $m200                  either deliberately or with reckless disregard as to the consequences and
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                                     were a substantialfactor in causing injury to the Plaintiff.

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     D
                              19.As a result of the Defendant's breach of the Connecticut Product Liability
                                 Act by the Defendant its agents, representatives, servants, and/or
           D                     employees, the decedent suffered the following injuries:

                                     a.   cardiac anest;

                                     b.   respiratory failure;

                                     c.   severe lactic acidosis;

                                     d. hyperkalemia;
                                     e. hypoxic ischemic         injury likely from suffocation;

                                    f.    injury of head and neck with skullfracture; and

                                     g.   death.

                              20. Due   to the dangerous and defective condition of the Boppy  Newborn
                                 Lounger, the infant decedent sustained and suffered serious and severe
                                 personal injuries and death.

                              21.8y further violation of the product liability act by the Defendant as aforesaid,
                                 the Plaintiff was required to spend substantial sums of money for the infant
                                 decedent's medical care necessitated by the injuries incurred.

                              22.4s a further violation of the product liability act by the Defendant as
                                 aforesaid, the Plaintiff was required to spend substantial sums of money for
                                 the infant decedent's funeral expenses.

                              23.As a further violation of the product liability act by the defendant as
                                 aforesaid, the Plaintiff has experienced pain and suffering, loss of
                                 enjoyment of life's leisure activities, and loss of earning capacity.


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                              24.The plaintiff is entitled to punitive damages as a result of the reckless
     @u[sEuns                    conduct pursuant to General Statutes Sec. 52-240b.
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            sum200         GOUNT EIGHT: ANTHoNY scRlccA. ADMIN|STRAToR oF THE ESTATE
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                06614      ANGELISE YULY MARIA RODRIGUEZ V. TARGET CORPORATION D/B'A
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                           TARGET STORES. INC. - RECKLESSNESS PURSUANT TO S52-240b
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    D
                           1. The infant decedent,  Angelise Yuly Maria Rodriguez, (hereinafter the "infant
                               decedent") was a resident of the State of Connecticut with her place of
        D                      residence being in the City of New Haven.

                          2.   The defendant, Target Corporation d/b/a Target Stores, Inc., (hereinafter
                               the "Defendant") was and still is a corporation duly incorporated under the
                               laws of the State of Minnesota, with a principal place of business in
                               Minneapolis, Minnesota.

                          3. On or around October 26, 2022, Anthony Scricca, was                  appointed
                               Administrator of the Plaintiff, the Estate of Angelise Yuly Maria Rodriguez.

                          4.   Anthony Scricca brings this complaint in his capacity as the Administrator
                               of the Estate of the decedent, Angelise Yuly Maria Rodriguez.

                          5.   At all times relevant hereto, the Defendant, had continuous and systematic
                               business contacts with the state of Connecticut, selling and distributing its
                               products throughout the state of Connecticut.

                          6. At all times mentioned herein, the Defendant, its agents, selants,
                               representatives, and/or employees designs, manufactures, distributes,
                               sells, tested, and/or was charged with providing warnings, instructions,
                               marketing, packaging, or labeling baby pillows such as Boppy Pillows.

                          7.   The Boppy Newborn Lounger was a product sold by the Defendant.

                          8. On or about November 8, 2019, the infant decedent, Angelise Yuly Maria
                               Rodriguez, at only four months old, was placed in her crib on her back, with
                               the Boppy Newborn Lounger, at her home, in New Haven, Connecticut.

                          9.   The infant decedent was found not breathing after she was laid in or around
                               the Boppy Newborn Lounger.

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    GtUtSHOnS              1O.After being found unresponsive, the infant decedent was taken to Yale New
                              Haven Hospitalwhere she was later pronounced dead.
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                           11.The Plaintiff is a claimant, as defined under General Statutes $ 52-s72m.

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                               by the defendant.
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    D

                             13.The Boppy Newbom Lounger at issue was expected to, and did reach, the
           D                    consumer without substantial change in condition.

                             14.The defendant recklessly sold The Bobby Newborn Lounger to the public
                                when itwas not reasonably safe and notfitforthe ordinary purposes forwhich
                                   they were sold.

                             15.The defendant recklessly sold The Bobby Newborn Lounger to the public
                                despite prior claims against the it for losses and injuries similar to the losses
                                and injuries of the Plaintiff.

                             16.   The injuries and damages of the plaintiff was the result of the product seller's
                                   reckless disregard for the safety of product users, consumers or others who
                                   were injured by the product, including the following:

                                      a. Selling   over 3.3 million Boppy Newborn Loungers, under the names
                                           Boppy Original Newbom Loungers, Boppy Preferred Newbom
                                           Loungers and Pottery Barn Kids Boppy Newborn Loungers;

                                      b.   Knew, should have known or otherwise having complete reckless
                                           disregard that infants can suffocate if they roll, move, or are placed on
                                           the lounger in a position that obstructs breathing, or roll off the lounger
                                           onto an external surface, such as an adult pillow or soft bedding that
                                           obstructs breathing;

                                      c. Being forced to recall the item by the Consumer Product Safety
                                         Commission as a result of at least eight (8) reports of deaths
                                           associated with the product, instead of conducting their own proper
                                           testing to determine the safety of the product;

                                      d.   Knew, should have known or otherwise having complete reckless
                                           disregard that the products were too risky to be sold to the general
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    tiltursEons                            public for use by consumers, including the plaintiffs; and

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            sum200                    e.   Placed profit over safety in failing to conduct sufficient safety testing,
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                                           analysis or provide sufficient warnings as to the potential dangers of
                                           this products to infants, including the decedent.
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    D
                             17.The losses and injuries sustained by the plaintiff/claimant was due to the
                                Defendant's reckless disregard for the safety of product uses, consumers,
                                and others injured by The Newbom Boppy Lounger, including the plaintiff,
          -
                                in that it:

                                   a. deliberately sold The Bobby Newborn         Lounger to the public when it
                                        knew or should have known when it was not reasonably safe and not
                                        fit for the ordinary purposes for which they were sold.

                                   b.   deliberately continued to sell rhe Bobby Newborn Lounger to the
                                        public despite prior claims against it for losses and injuries similar to
                                        the losses and injuries of the Plaintiff.

                                   c. recklessly   failed to test and/or inspect the Boppy Newborn Lounger
                                        despite prior claims against it for losses and injuries similar to the
                                        losses and injuries of the Plaintiff;

                                   d.   failed to identify the foreseeable risk in the product and/or remedy
                                        the risk prior claims against it for losses and injuries similar to the
                                        losses and injuries of the Plaintiff;

                                   e.   breached its statutory implied warranty of merchantability in that the
                                        Boppy Newborn Lounger was not reasonably safe and not fit for the
                                        ordinary purposes for which they were sold;

                                   f.   placed the Boppy Newborn Lounger in to the stream of commerce
                                        when it knew or should have known that it exposed consumers,
                                        including the infant decedent, to a defective andlor dangerous
                                        product;

                             18.All of the aforementioned violations were engaged in by the Defendant
                                either deliberately or with reckless disregard as to the consequences and
                                were a substantialfactor in causing injury to the Plaintiff.
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    milHsq.0Hs
                             19.As a result of the Defendant's breach of the Connecticut Product Liability
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           sum200               Act by the Defendant its agents, representatives, servants, and/or
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                                employees, the decedent suffered the following injuries:

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              sum303               a.   cardiac arrest;
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                                   b.   respiratory failure;
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                                       c.   severe lactic acidosis;

          D                            d.   hyperkalemia;

                                       e.   hypoxic ischemic injury likely from suffocation;

                                       f.   injury of head and neck with skullfracture; and

                                       g. death.
                              20.   Due to the dangerous and defective condition of the Boppy Newborn
                                    Lounger, the infant decedent sustained and suffered serious and severe
                                    personal injuries and death.

                              21   .By further violation of the product liability act by the Defendant as aforesaid,
                                    the Plaintiff was required to spend substantial sums of money for the infant
                                    decedent's medical care necessitated by the injuries incuned.

                              22.4s a further violation of the product liability act by the Defendant as
                                    aforesaid, the Plaintiff was required to spend substantial sums of money for
                                    the infant decedent's funeral expenses.

                              23.As a further violation of the product liability act by the defendant as
                                 aforesaid, the Plaintiff has experienced pain and suffering, loss of
                                    enjoyment of life's leisure activities, and loss of earning capacity.

                              24.The plaintiff is entitled to punitive damages as a result of the reckless
                                 conduct pursuant to General Statutes Sec. 52-240b.

                           EOTINT NINF. I OSS OF CONSORTIUM                                     N   RODRIGI.JEZ
                           RECKLESSNESS

                              1. All paragraphs of Counts Six, Seven and Eight are hereby       incorporated and
                                    restated as if set for and incorporated as Paragraph 1 of Count Four.
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                              2.    The plaintiff, Coleen Rodriguez, is the mother of the infant decedent, Angelise
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                                    Yuly Maria Rodriguez.
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                              3.    As a further result of the violation of the product liability act of the defendant
4r il0mH HAtNSnet                   and the reckless disregard as detailed above, as well as the injuries to the
             sum303
  WESTHARIfORD, CI                  infant decedent, has lost the consortium, society, care and companionship of
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                                    her daughter, and will continue to suffer such a loss in the future.
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      D

                              4. The plaintiff brings these claims against all defendants as named        in Counts
            D                      Six, Seven and Eight.

                           COUNT TEN: LOSS OF GONSORTIUM               -   ANGEL MTGUEL RODRIGUEZ

                              1. All paragraphs of Counts Six, Seven and Eight are hereby      incorporated and
                                   restated as if set for and incorporated as Paragraph 1 of Count Four.

                              2.   The plaintiff, Angel Miguel Rodriguez, is the father of the infant decedent,
                                   Angelise Yuly Maria Rodriguez.

                              3.   As a further result of the violation of the product liability act of the defendant
                                   and the reckless disregard as detailed above, as well as the injuries to the
                                   infant decedent, has lost the consortium, society, care and companionship of
                                   her daughter, and will continue to suffer such a loss in the future.

                              4.   The plaintiff brings these claims against all defendants as named in Counts
                                   Six, Seven and Eight.

                           COUNT ELEVEN: ANTHONY SCRICGA. ADMINISTRATOR OF THE ESTATE
                           AN-GELISE YULY MARIA RODRIGUEZ V. THE BOPPY COMPANY. LLC                                 -
                           CUTPA

                              1. All paragraphs     of the First Count and Sixth Count are hereby incorporated by
                                   reference and made and asserted and alleged as paragraph 1 of Count
                                   Eleven as if fully set forth herein.

                              2. At all times relevant, the Defendant       was engaged in trade or commerce
                                   within the State of Connecticut.

                              3.   The Defendant advertised rhe Newborn Boppy Lounger as a lounger pillow
                                   designed "for baby and caregiver alike" and The Newbom Boppy Lounger
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      GOIfrSET}RS                  creates "comfort for the child.'
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             sum200           4. The    Defendant deliberately continued to advertise and sell The Bobby
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                                   Newborn Lounger to the public in a defective, unsafe, and dangerous
                                   condition, thereby subjecting the plaintiff to an unreasonable risk of injury.
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       D
                               5. The Defendant         deliberately continued to advertise and sell The Bobby
                                     Newborn Lounger to the public despite prior claims against it for losses and
           D                         injuries similar to the losses and injuries of the Plaintiff.

                              6.    Failed to properly investigate or othenruise determine whether their product
                                    was safe after reports of injury as a result of the use of the product.

                               7   . The Defendant's conduct as aforesaid, constituted an unfalr method of trade
                                    or deceptive act or practice in the conduct of trade or commerce in violation
                                    of the Connecticut Unfair Trade Practices Act ("CUTpA").

                               8. The Defendant breached and/or violated the Connecticut Unfair Trade
                                     Practices Act, General statutes section 42-110a, et seq. ('curpA") in that
                                     its misconduct as alleged by the plaintiff in all Counts constituted unfair acts
                                     or practices in the conduct of its trade and commerce which             caused
                                     substantial injury to the Plaintiff as a consumer of its products.

                              9. under curPA,      the Plaintiff is entitled to recover compensatory damages
                                    from the Defendant, including attorneys'fees, costs, emotionaldistress, and
                                    punitive damages.

                            COUNT TWELVE: ANTHONY SCRICGA. ADMINISTBATOR OF THE ESTATE
                            ANGELISE YULY MARIA RODRIGUEZ V. ARTSANA U.S.A.. INC. D'B'A
                            CHIGCO - CUTPA

                               1. All paragraphs     of the Third Count and Eighth Gount are hereby incorporated
                                    by reference and made and asserted and alleged as paragraph 1 of count
                                    Twelve as if tully set forth herein.

                              2. Al all times relevant, the Defendant was engaged in trade or commerce
                                    within the State of Connecticut.

                              3.    The Defendant advertised The Newbom Boppy Lounger as a lounger pillow
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      G0uilsGtoBs                   designed'Tor baby and caregiver alike" and rhe Newborn Boppy Lounger
                                    creates "comfort for the child."
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                              4. The Defendant       deliberately continued to advertise and sell The Bobby
                                    Newborn Lounger to the public in a defective, unsafe, and dangerous
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             $Jm303                 condition, thereby subjecting the plaintitf to an unreasonable risk of injury.
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        D
                                 5. The Defendant        deliberately continued to advertise and sell The Bobby
                                      Newborn Lounger to the public despite prior claims against it for losses and
              D                       injuries similar to the losses and injuries of the plaintiff.

                                 6.   Failed to properly investigate or othennrise determine whether their product
                                      was safe after reports of injury as a result of the use of the product.

                                 7.   The Defendant's conduct as aforesaid, constituted an unfair method of trade
                                      or deceptive act or practice in the conduct of trade or commerce in violation
                                      of the Connecticut Unfair Trade practices Act ("CUTpA").

                                 8. The Defendant breached and/or violated the Connecticut               Unfair Trade
                                      Practices Act, General statutes Section 42-110a, et seq. ("curpA") in that
                                      its misconduct as alleged by the plaintiff in all Counts constituted unfair acts
                                      or practices in the conduct of its trade and commerce which caused
                                      substantial injury to the Plaintiff as a consumer of its products.

                                 L    Under curPA, the Plaintiff is entitled to recover compensatory damages
                                      from the Defendant, including attorneys'fees, costs, emotionaldistress, and
                                      punitive damages.

                              COUNT TWELVE: ANTHONY SGRICGA. ADMINISTRATOR OF THE ESTATE
                              ANGELISE YULY MARIA RODRI.GUEZ V. TARGET CORPORATION D'B/A
                              TARGET STORES. INC. - CUTPA

                                 1. All paragraphs of the second count and seventh count are            hereby
                                      incorporated by reference and made and asserted and atleged as paragraph
                                      1 of Count Twelve as if fully set forth herein.

                                 2. At all times   relevant, the Defendant was engaged in trade or commerce
                                      within the State of Connecticut.

                                 3.   The Defendant advertised The Newborn Boppy Lounger as a lounger pillow
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      00utsBoBs                       designed "for baby and caregiver alike" and rhe Newborn Boppy Lounger
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                                      creates "comfort for the child.'
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                                 4. The Defendant      deliberately continued to advertise and sell The Bobby
                                      Newborn Lounger to the public in a defective, unsafe, and dangerous
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               sum303                 condition, thereby subjecting the plaintiff to an unreasonable risk of injury.
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    D
                             5. The Defendant deliberately continued to advertise and sell The          Bobby
                                  Newborn Lounger to the public despite prior claims against it for losses and
          D                       injuries similar to the losses and injuries of the Plaintiff.

                             6. Failed to properly investigate    or otherwise determine whether their product
                                  was safe after reports of injury as a result of the use of the product.

                             7.   The Defendant's conduct as aforesaid, constituted an unfair method of trade
                                  or deceptive act or practice in the conduct of trade or commerce in violation
                                  of the Connecticut Unfair Trade Practices Act ("CUTPA').

                             8. The Defendant breached and/or violated the            Connecticut Unfair Trade
                                  Practices Act, General Statutes Section 42-110a, et seq. ("CUTPA") in that
                                  its misconduct as alleged by the plaintiff in all Counts constituted unfair acts
                                  or practices in the conduct of its trade and commerce which caused
                                  substantial injury to the Plaintiff as a consumer of its products.

                             9.   Under CUTPA, the Plaintiff is entitled to recover compensatory damages
                                  from the Defendant, including aftorneys'fees, costs, emotionaldistress, and
                                  punitive damages.




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    D
                             WHEREFORE, the Plaintiff claims:

                                         1. Monetary relief;
          -
                                         2.   Double damages pursuant to Conn. Gen. Stat. S 52-240b

                                         3. Attorneys'   fees pursuant to Conn. Gen. Stat. $ 52-240a;

                                         4. Attorneys'fees pursuant to Conn. Gen. Stat. S 42-110 et seq
                                              (curPA);

                                         5. Punitive Damages pursuant to Conn. Gen. Stat. S 42-110 et seq
                                              (curPA);

                                         6. Costs;
                                         7.   Post-Judgment lnterest; and

                                         8.   Any other such further relief as law and equity may provide.


                                                          Respectfully submitted,
                                                          THE PLAINTIFF




                                                                         BI        SO
                                                                       R C. BOWMAN, ESQ
                                                                 BBB ATTORNEYS, LLC
                                                                 3651 MAIN STREET, SUITE 2OO
                                                                 STRATFORD, CT 06614
                                                                 T: {203) 562-0900
    AIIORHEYS &
                                                                 F: (203)562-0902
    80llt{sEt0Rs                                                 E: FILING@BBBATTORNEYS.COM
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    D
                           RETURN DATE: DECEMBER 2A, 2A22                        SUPERIOR COURT

           D               ANTHONY SCRICCA, ADMIN ISTRATOR
                           OF THE ESTATE OF
                           ANGELISE RODRIGUEZ;
                           COLEEN RODRIGUEZ &
                           ANGEL MIGUEL RODRIGUEZ                                J.D. OF NEW HAVEN

                           v                                                     AT NEW HAVEN

                           THE BOPPY COMPANY, LLC;
                           ARTSANA U.S.A., INC. DIBIA CHICCO; &
                           TARGET CORPORATION DIBIA
                           TARGET STORE, INC.                                    NOVEMBER7,2022

                                                  STATEMENT OF AMOUNT IN DEMAND

                                 Amount, legal interests, and property in demand, exclusive of interest and costs, is

                           Fifteen Thousand and 001100 Dollars ($15,000.00) or more.



                                                            Respectfully submitted,
                                                            THE PLAINTIFF




                                                             B
                                                                         R BILLINGS, ESQ
                                                                   PETER C. BOWMAN, ESQ.
                                                                   BBB ATTORNEYS, LLC
                                                                   3651 MAIN STREET, SUITE 2OO
                                                                   STRATFORD, CT 06614
    ATTonilgrs &
    c0uil$Et0Rs
                                                                   r: (203) 562-0900
                                                                   F: (203) 562-0902
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     I
                            RETURN DATE: DECEMBER 20, 2A22                        SUPERIOR COURT

           D                ANTHONY SCRICCA, ADMIN ISTRATOR
                            OF THE ESTATE OF
                            ANGELISE RODRIGUEZ;
                            COLEEN RODRIGUEZ &
                            ANGEL MIGUEL RODRIGUEZ                                J.D. OF NEW HAVEN

                            V                                                     AT NEW HAVEN

                            THE BOPPY COMPANY, LLC;
                            ARTSANA U.S.A., INC. DIBIA CHICCO; &
                            TARGET CORPORATION DIBIA
                            TARGET STORE, INC.                                    NOVEMBER7,2A22

                                              NOTICE OF REPORT TO GOVERNMENT ENTITIES

                                   The Plaintiffs hereby give notice that this Complaint was sent to the following

                            entities as a notice and complaint of the conduct of the company:

                                   Hon. William Tong, Esq., Attorney General, State of Connecticut, sent via e-mail

                            to Attglrney. General @c!,qov.

                                   Hon. Michelle H. Seagull, Commissioner, State of Connecticut, Department of

                            Consumer Protection, sent via e-mail to dcp.complaints@qt.qov.

                                                              Respectfully
                                                              THE

                                                              B
                                                                         ERB     INGS, ESQ.
                                                                     ETER C. BOWMAN, ESQ
    ATTORIIEYS       &
    couilsEto8s                                                     BBB ATTORNEYS, LLC
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             sutTE 303                                              E: FILING@BBBATTORNEYS.COM
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                         Exhibit B
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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


ANTHONY SCRICCA, ADMINISTRATOR
OF THE ESTATE OF
ANGELISE RODRIGUEZ;
COLEEN RODRIGUEZ &
ANGEL MIGUEL RODRIGUEZ

                           Plaintiffs

VS
                                                       CivilAction No
THE BOPPY COMPANY, LLC;
ARTSANA U.S.A., INC. D/B/A CHICCO; &
TARGET CORPORATION D/B/A
TARGET STORE, INC.

                           Defendants                  NOVEMBER 23, 2022


                                        EOF           AL
       PLEASE TAKE     NorcE that, pursuantto 28 u.s.c. ss 1332, 1441,and            1446,
defendant, Target Corporation d/b/a Target Stores, lnc., hereby gives notice
                                                                             of the
removal of the above-captioned action from the Superior Court of Connecticut,
                                                                              J.D. of
New Haven at New Haven, which is the judicial district in which said action is pending,
                                                                                        to
this Court. The grounds for removal are as follows:

       1. On or about November 7,              2022, the plaintiffs, Anthony Scricca,
Administrator of the Estate of Angelise Rodriguez, Coleen Rodriguez, and Angel
                                                                               Miguel
Rodriguez, commenced a civil action against The Boppy Company, LLC,
                                                                    Artsana U.S.A.,
lnc. d/b/a Chicco, and Target Corporation d/b/a Target Stores, lnc. in the Superior
                                                                                    Court
of Connecticut, J.D' of New Haven at New Haven, titled Anthony Scricca, Administrator

of    Estate of Anoelise       nquez. Coleen Rod riquez &      el Miouel Rodriquez    The
     Case 3:22-cv-01497-RNC Document 1 Filed 11/23/22 Page 42 of 46



Bopov Com panv. LLC. Artsana U.S.A.. lnc.. d/b/a Ch            . and Taroet Co          n d/b/a
Target Store, lnc. (the "New Haven Action"), Docket Number NNH-CV22-612g0g2-S.

         2.   The plaintiffs' Complaint alleges that as a result of the defendants' violation

of the Connecticut Product Liability Act, violation of the Connecticut Unfair            Trade

Practices Act, and recklessness, plaintiff Angelise Rodriguez was caused to suffer cardiac

arrest, respiratory failure, severe lactic acidosis, hyperkalemia, hypoxic ischemic injury

likely from suffocation, injury of head and neck with skull fracture, and death. The plaintiffs,

Complaint further alleges that as a result of the defendants' violation of the Connecticut

Product Liability Act, violation of the Connecticut Unfair Trade practices Act, and

recklessness, plaintiffs Coleen Rodriguez and Angel Miguel Rodriguez have lost the

consortium, society, care and companionship of their daughter Angelise Rodriguez, and

will continue to suffer such a loss in the future. The Complaint states that the plaintiffs

incurred substantial sums of money for Angelise Rodriguez's medical care necessitated

by the injuries incurred, lt further alleges that the plaintiffs were required to spend

substantial sums of money for Angelise Rodriguez's funeral expenses. Finally, it alleges

that Angelise Rodriguez has experienced pain and suffering, loss of enjoyment of life's

leisure activities, and loss of earning capacity. The demand for relief claims monetary

damages in excess of $1b,000.

         3.    This Notice of Removal is filed pursuant to 28 U.S.C. SS 1441 and 1332

because complete diversity exists between the plaintiffs and the defendants and the

amount in controversy exceeds the sum or value of $75,000, exclusive of interest and

costs.
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      4'     There is complete diversity of citizenship between the plaintiffs and the

defendants. Plaintiff Angelise Rodriguez was an individual who resided in New Haven,

connecticut and who was a citizen of the state of connecticut.

       5.    Plaintiff Coleen Rodriguez is an individual who resides in New Haven,

connecticut and who is a citizen of the state of connecticut.

      6.     Plaintiff Angel Miguel Rodriguez is an individualwho resides in New Haven,

connecticut and who is a citizen of the state of connecticut.

       7.    Upon information and berief, defendant The Boppy company, LLC, is           a

single member Colorado limited liability company that maintains its principal place of

business in Golden, Colorado. The sole member of The Boppy Company, LLC is Artsana,

S.p.A. Artsana, S.p.A is an ltalian corporation with its principal place of business    in

Grandate, Como, ltaly.

       8'     Defendant Artsana U.S.A. lnc., d/b/a Chicco is a New Jersey corporation

that maintains its principal place of business in Lancaster, Pennsylvania.

       I'     Defendant Target Corporation d/b/a Target Stores, lnc., is     a   Minnesota

corporation that maintains its principal place of business in Minneapolis, Minnesota.

       10.    Upon information and belief, the amount in controversy of the New Haven

action exceeds the sum or value of $75,000, exclusive of interest and costs. The amount

in controversy appears to exceed such sum or value based on the extensive list of injuries

alleged in the Complaint. The plaintiff also claims non-economic damages in the form of

pain and suffering and loss of enjoyment of life's leisure activities and loss of earning

capacity- Finally, the plaintiff claims double damages for the defendants' alleged
     Case 3:22-cv-01497-RNC Document 1 Filed 11/23/22 Page 44 of 46



recklessness and punitive damages         for the defendants' alleged violation of      the
Connecticut Unfair Trade practices Act.

       11'    Pursuant to 28 U.S.C. S 1446(bX1), this Notice of Removal is being timely

filed within 30 days of the defendant Target Corporation d/b/a Target Stores, lnc.'s receipt

of the initial state court pleading. Target Corporation d/b/a Target Stores, lnc. was served

with process on November 8,2022. Accordingly, the time for filing this Notice under the

provisions of 28 U.S.C. S 1446 has not expired.

       12.    Defendants The Boppy company, LLC and Artsana U.s.A., lnc. dlbta

Chicco have no counsel on record, as no counsel has filed an appearance on behalf of

these defendants. Additionally, counsel for The Boppy Company, LLC and Artsana

U.S.A., lnc. d/b/a Chicco are not due to file an appearance until December 20,2022,

which is past the 30 days this Notice of Removal must be filed by to comply with the

requirements of 28 u.s.c. s 1446(bX1). As such, counsel for The Boppy company, LLC

and Artsana U.S.A., lnc. d/b/a Chicco are not able to join in or consent to this Notice of

Removal pursuant to 28 USCS S 1441(bX2XA). Target Corporation d/b/a Target Stores,

lnc. will make all efforts possible to join in or obtain the consent of The Boppy Company,

LLC and Artsana U.S.A., lnc. d/b/a Chicco to this Notice of Removalwhen an appearance

is filed by counsel for The Boppy Company, LLC and Artsana U.S.A., lnc. d/b/a Chicco.

       13.    This Court would have had original subject matter jurisdiction of this action

under the provisions of 28 U.S.C. S 1332 if the New Haven Action had originalry been

brought in Federal court. Removal, therefore, is proper under 28 U.S.C. 1441(a).
                                                                       $
       14.    Removal of this case on the basis of diversity citizenship is not precluded

by 28 U.S.C S 1441(bX2) because none of the parties in interest has joined and served
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as a defendant a citizen of the State of Connecticut, which is the State in which the New

Haven Action was brought.

       15.      All state court papers served on the defendant at the time of removal,
consisting of the summons and complaint, are attached hereto as Exhibit A.

       16.      Written notice of the filing of this Notice has been given to all parties as

required by law (Exhibit B).

       17   '   Pursuant to 28 USC S1446(d), the defendant has notified the Superior Court

of the State of Connecticut of the filing of this petition.

       For the reasons set forth above, the defendant hereby removes this action from

the Superior Court of Connecticut, J.D. of New Haven at New Haven, to this Court.


                                             DEFENDANT,
                                             TARGET CORPORATION D/B/A
                                             TARGET STORES, INC.

                                             By: /s/ Ren ee W. Dwver  1 0580
                                             Renee W. Dwyer, ct10580
                                             641 Farmington Avenue
                                             Hartford, CT 06105
                                             Phone: (860) 523-8000
                                             Fax: (860) 523-8002
                                             E-Mail : rdwyer@conwaystoug hton.com
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                                       CERTIFICATION

    I hereby certify that on November 23, 2022, a copy of the foregoing Notice of
Removal was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of
                                                                                               the
Court's electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court's CM/ECF System.

                                             /s/ Renee W. Dwyer ct10580
                                             Renee W. Dwyer, ct10580
